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 7
                                 IN THE DISTRICT COURT OF GUAM
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 9
     IN RE:                              )                 MAGISTRATE CASE NO. 08-00004
10                                       )
     SEARCH OF ELECTRONIC DEVICES        )
11   SEIZED FROM MARK ANTHONY            )
     BARTOLOME ON FEBRUARY 28, 2008. )                                     ORDER
12   ___________________________________ )
13            This matter having come before the court on the United States’ Motion for Extension of
14   Time for Return of Search Warrant, and the Court finding good cause for the issuance of the
15   Order;
16            IT IS HEREBY ORDERED that a thirty-day extension of time for return of search
17   warrant is granted, and the record herein be sealed until such return to the court.
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                                                                          /s/ Joaquin V.E. Manibusan, Jr.
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                                                                              U.S. Magistrate Judge
21                                                                        Dated: May 09, 2008

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               Case 1:08-mj-00004        Document 4         Filed 05/09/2008       Page 1 of 1
